Case 1:09-cv-00013-CMH-TCB Document 663 Filed 10/27/17 Page 1 of 1 PageID# 29362



                            UNITED    STATES       DISTRICT    COURT
                     FOR THE       EASTERN       DISTRICT    OF VIRGINIA
                                   Alexandria       Division




  UNITED   STATES    ex    rel.
  CHRISTINE A.      RIBIK,
              Plaintiff,

                      V.                               Civ.    No.    l:09-cv-13


  MANOR CARE INC.,         et al.,
              Defendant.




                                             ORDER


        FOR REASONS stated from the bench,                    and in accord with

  specific rulings and instructions thereto,                        i t is hereby

        ORDERED that Defendants' Motion for Sanctions for Expert

  Discovery Violations            (Dkt.   616)    is GRANTED.        Dr.   Rebecca

  Cleawater's expert report is stricken.                     Dr. Rebecca Clearwater's

  deposition testimony is stricken, and Dr. Rebecca Clearwater

  will not be allowed to testify at trial. Defendants are directed

  to submit to the Court a            statement of attorneys'               fees and costs

  related to bringing its motion for sanctions.

        ENTERED this 27th day of October,                    2017.

                                                                            /s/
                                                            Theresa Carroll Buchanan
                                                            United States Magistrate Judge

                                                    lESA   CARROLL     BUCHANAN
                                             UNITED        STATES    MAGISTRATE      JUDGE


  Alexandria,    Virginia
